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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                          )
                                                    )
         Plaintiff,                                 )
                                                    )
         v.                                         )       CAUSE NO.        1:19-cr-00229-RLY-DML
                                                    )
                                                    )
 MAHDE DANNON, and                                  )       -01
 MOYAD DANNON,                                      )       -02
                                                    )
         Defendants.

                  UNOPPOSED MOTION TO DECLARE CASE COMPLEX
                          AND CONTINUE TRIAL DATE

        The United States of America, by and through its counsel, Josh J. Minkler, United States

 Attorney for the Southern District of Indiana, and Matthew J. Rinka, Assistant United States

 Attorney, respectfully moves pursuant to 18 U.S.C. § 3161(h)(7) – in particular § 3161(h)(7)(B)(ii)

 (unusual and complex cases) – to declare the case complex and continue the trial date for a

 reasonable time to allow for effective preparation for trial and for the filing of any pretrial motions,

 and in support thereof states as follows:

                                           BACKGROUND

        1.      On May 15, 2019, the defendants Mahde and Moyad Dannon (“defendants”) were

 arrested on a criminal complaint charging them with violation various provisions of the federal

 criminal code, including 18 U.S.C. § 922 and 26 U.S.C. § 5861. Dkt. 2.

        2.      Following a detention hearing on May 23, 2019, the defendants were ordered

 detained pending trial in this matter. Dkts. 15, 19, 20.

        3.      On July 2, 2019, a federal grand jury returned an eight count Indictment charging

 the defendants with certain firearms offenses and attempting to provide material support to ISIS,

 a designated foreign terrorist organization. Dkt. 28.
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        4.      On July 11, 2019, the Court entered its standard Discovery Order and set trial for

 this matter to commence on September 16, 2019. Dkt. 42.

        5.      That same day, defendants made their initial appearance and were arraigned on the

 charges in the Indictment. Dkt. 43.

                                            DISCOVERY

        6.      The charges in this case are the result of an intense, approximately eighteen (18)

 month investigation by the Federal Bureau of Investigation (“FBI”). The criminal complaint

 (Dkt. 2) describing the investigation and the defendants criminal activity runs more than 50 pages.

 Together the criminal complaint and the indictment allege, inter alia, that for more than a year the

 defendants individually and collectively obtained, manufactured, and provided firearms, including

 fully-automatic weapons, to prohibited persons, and that they conspired and attempted to provide

 material support to a foreign terrorist organization.

        7.      Discovery in this matter is voluminous and includes banking and/or business

 records of multiple entities, email and text messaging data, evidence seized during execution of

 search warrants, law enforcement reports, and approximately 150 hours of audio and video

 recordings that may require pixilation, modulation, and or translation from Arabic, prior to release

 to defense counsel. Additionally, multiple electronic devices were seized during the course of the

 investigation that will require forensic analysis.

        8.      At defendants’ initial appearance on the indictment, counsel for the government

 advised the magistrate judge that discovery in this matter consisted of materials that are currently

 classified, and special procedures would be necessary to allow defense council to review those

 materials. Finally, counsel for the government also made the magistrate judge aware that the

 government had expended considerable effort, prior to presenting this matter to the grand jury, in



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 preparing a preview of discovery which the government shared, separately, with both defendants

 and their lawyers.

        9.      The government is in the process of compiling a detailed inventory of discovery,

 and defense counsel will require considerable time to review this discovery adequately in

 preparation for the filing of pretrial motions and for trial.

        10.     Additionally, due to the nature of the charges and the expected evidence in this

 case, the government anticipates that issues relating to classified information will arise. Thus,

 pretrial motions in this matter are anticipated to raise complex issues, including issues

 implicating the Classified Information Procedures Act ("CIPA"), codified at 18 U.S.C. App. III,

 and will require substantial time to prepare.

                                        COMPLEX CASE

        11.     Generally speaking, the Speedy Trial Act, 18 U.S.C. § 3161 et. seq., requires that

 defendants be brought to trial within “seventy days from the filing date . . . of the information or

 indictment, or from the date the defendant has appeared before a judicial officer of the court in

 which such charge is pending, whichever date last occurs.” 18 U.S.C. § 3161(c)(1). The

 Speedy Trial Act contemplates, however, that not every criminal case will be completed within

 the seventy days provided by the Act and expressly sets out “periods of delay” that are excluded

 from that seventy-day time frame. 18 U.S.C. § 3161(h). Among these exclusions, the Court

 may grant an “ends of justice” continuance when “the case is so unusual or so complex, due to

 the number of defendants, the nature of the prosecution, or the existence of novel questions of

 fact or law, that it is unreasonable to expect adequate preparation for pretrial proceedings or for


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 the trial itself within the time limits established by this section.” 18 U.S.C. § 3161(h)(7)(B)(ii).

        12.          The United States respectfully submits that the facts and circumstances of this

 case support a finding by the Court that this matter is complex. These factors include:

                a.        The charges in this case relate to a lengthy scheme to manufacture and

        supply firearms to prohibited persons, and to provide material support to a foreign terrorist

        organization.

                b.        As a result of the government’s investigation, the United States anticipates

        needing a substantial period of time to prepare, copy, and/or make available for inspection

        voluminous recordings of the defendants engaged in the charged offenses, as well as

        voluminous materials seized during forensic searches of defendants’ electronic devices.

                c.        A great deal of the material subject to discovery in this matter remains

        classified, and special procedures are required to declassify those materials and/or make

        those materials available for inspection/review by the defense in a secure environment.

                d.        Adequate pretrial preparation will lead to a more streamlined and efficient

        trial, thus advancing the interest of judicial economy.

        13.     For the reasons set forth above, the United States respectfully requests the Court to

 declare the present case complex pursuant to 18 U.S.C. § 3161(h)(7)(B)(ii).

                                      DISCOVERY SCHEDULE

        14.     The government estimates preparing and disclosure of discovery materials in this

 matter will be an on-going process that will require significant time to complete.

        15.     In light of the above, the government proposes the following preliminary schedule

 for Rule 16 discovery: (i) the government will provide an index of discovery material to defense

 counsel by August 30, 2019, after which discovery material would be made available for


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 inspection and copying; (iii) to the extent feasible, the government begin making available

 electronic copies of discovery material within approximately two weeks after the index is

 produced; and (iv) consistent with its obligations under Rule 16, the government would promptly

 notify and make available to defense counsel additional Rule 16 discovery material as it becomes

 available. In the meantime, the government will file the necessary pleadings to facilitate security

 clearance of defense counsel, as needed.

        16.     Finally, in addition to providing an index of discovery, counsel for the government

 is open to meeting with defense counsel for purposes of discussing the evidence the government

 would presently anticipate offering at trial, reserving the right to offer other and/or additional

 evidence, as well as the location of presently anticipated evidence among the discovery material.

                                    MOTION TO CONTINUE

        17.     In view of the complexity of this case, and the application of the Speedy Trial Act

 to multiple defendants joined for trial, the United States respectfully requests the Court to continue

 the currently scheduled September 16, 2019, trial until a date convenient to the Court. The United

 States further requests that the Court declare the period of delay excludable from the speedy trial

 calculation. See 18 U.S.C. § 3161(h)(7).

        18.     As noted above, the Court may continue a trial and exclude the resulting period of

 delay from the speedy trial calculation, if the Court finds that “the ends of justice served” by doing

 so “outweigh the best interest of the public and the defendant[s] in a speedy trial.” 18 U.S.C. §

 3161(h)(7)(A). The Court must make specific findings on the record as to an ends-of-justice

 continuance. Zedner v. United States, 547 U.S. 489, 508–09 (2006).

        19.     One of the factors to consider in making such a determination is “[w]hether the case

 is so unusual or so complex, due to the number of defendants, the nature of the prosecution, or the


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 existence of novel questions of fact or law, that it is unreasonable to expect adequate preparation

 for pretrial proceedings or for the trial itself within the time limits established” by the statute. 18

 U.S.C. §3161(h)(7)(B)(ii). Likewise, a continuance is warranted where it is needed to provide

 “counsel for the defendant or the attorney for the Government the reasonable time necessary for

 effective preparation, taking into account the exercise of due diligence.” 18 U.S.C. §

 3161(h)(7)(B)(iv).

        20.     The Court should continue the September 16, 2019 trial date in light of the unusual

 and complex nature of this nearly 18 month, multi-defendant, national security investigation. The

 evidence at trial is anticipated to be extensive, including numerous documents, and hours of

 recordings of interaction between the defendants and other government witnesses. Additionally,

 the anticipated discovery is voluminous, consisting of currently classified materials, including

 approximately 150 hours of recordings, results from over 50 subpoenas, multiple search warrants,

 forensic analysis of numerous electronic devices, and a number of firearms – among other things.

        21.     In light of all of these circumstances, it is unreasonable to expect adequate

 preparation for pretrial proceedings or trial itself by the September 16, 2019, trial date, even taking

 into account the exercise of due diligence, and the government respectfully moves the Court to

 grant a continuance of that trial date.

                                           CONCLUSION

        22.     The government’s motion to continue and motion to declare this matter complex

 are made in good faith and not for the purposes of delay.

        23.     Indeed, the United States already expended significant time and resources, prior to

 the indictment in this case, to provide a detailed preview of discovery to the defendants and their

 lawyers. The government also offers to meet with defense counsel after providing the index to



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 discuss the anticipated evidence at trial (reserving its rights to introduce other/additional evidence)

 and point out the location of anticipated evidence in the discovery materials.

          24.      In sum, the ends of justice outweigh the best interest of the public and the

 defendants in a trial by September 16, 2019.

          25.      Undersigned counsel has conferred with counsel for both defendants concerning

 this motion, and highlighted those discussions for the magistrate judge at the defendants’ initial

 appearance on the indictment. Specifically, on the record of that hearing, William Dazey, counsel

 for Mahde Dannon, and Mario Garcia, counsel for Moyad Dannon, advised the court that they

 were aware of the government’s intent to file the instant motion and had no objections to the relief

 sought herein.

          WHEREFORE, for the foregoing reasons, the United States respectfully requests that the

 Court declare the case complex and continue the trial date for a reasonable time to allow for orderly

 discovery, effective preparation for trial, and any pretrial motions to be filed.




                                                 Respectfully submitted,

                                                 JOSH J. MINKLER
                                                 United States Attorney


  Date:         July26, 2019              By:    /s/ Matthew J. Rinka
                                                 Matthew J. Rinka
                                                 Assistant United States Attorney
                                                 Deputy Criminal Chief, National Security Unit
                                                 United States Attorney’s Office
                                                 Southern District of Indiana




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on July 26, 2019, a copy of the foregoing Motion to Declare Case

 Complex and Continue Trial Date was filed electronically. Notice of this filing will be sent to the

 following parties by operation of the Court’s electronic filing system. Parties may access this

 filing through the Court’s system. Service of this filing will be made on all ECF-registered

 counsel by operation of the court’s electronic filing system. Parties may access this filing through

 the court’s system.


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                                                 /s/ Matthew J. Rinka
                                                 Matthew J. Rinka
                                                 Assistant United States Attorney




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